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                        Exhibit A

                     Proposed Order
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                          Chapter 11

    BOY SCOUTS OF AMERICA AND                                       Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                    (Jointly Administered)
                              Debtors.
                                                                    Ref. Docket No. ____

                    SEVENTH ORDER, UNDER 28 U.S.C. § 1452
             AND FED. R. BANKR. P. 9006(b) AND 9027, EXTENDING THE
        PERIOD WITHIN WHICH THE DEBTORS MAY REMOVE CIVIL ACTIONS

             Upon the motion (the “Motion”)2 of the Debtors for entry of an order (this “Order”), under

28 U.S.C. § 1452 and Bankruptcy Rules 9006(b) and 9027, further extending the period within

which the Debtors may file notices of removal of claims or causes of action under Bankruptcy

Rule 9027 (the “Removal Period”); and this Court having jurisdiction to consider the Motion in

accordance with 28 U.S.C. § 1334 and the Amended Standing Order of Reference from the United

States District Court for the District of Delaware, dated February 29, 2012; and the Court having

found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Debtors having

consented to entry of a final order by this Court under Article III of the United States Constitution;

and the Court having found that venue of this proceeding and the Motion in this District is proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and appropriate notice of and opportunity for a hearing

on the Motion having been given and no other or further notice being necessary; and upon the

record herein; and the Court having determined that the legal and factual bases set forth in the


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      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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      All capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the
      Motion.
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Motion establish just cause for the relief granted herein; and after due deliberation and sufficient

cause appearing therefor,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

       1.      The Motion is GRANTED as set forth herein.

       2.      The Removal Period is extended by 120 days, to and including September 7, 2022

(the “Extended Removal Deadline”); provided, however, that, with respect to any Pending Abuse

Actions or Further Abuse Actions, the Extended Removal Deadline shall be the later of:

(a) September 7, 2022; and (b) the date that is forty-five (45) days after the occurrence of the

Termination Date provided for in the Preliminary Injunction Order, as modified by the Sixth

Stipulation and Agreed Order, or the Termination Date provided for in any other order of the Court

that further extends the Termination Date, as applicable.

       3.      This Order is without prejudice to (a) any position the Debtors may take regarding

whether section 362 of the Bankruptcy Code applies to stay any litigation against the Debtors and

(b) the Debtors’ right to seek further extensions of the Removal Period.

       4.      The Debtors are authorized to take all such actions necessary or appropriate to

effectuate the relief granted pursuant to this Order.

       5.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




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